Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 1 of 8




            EXHIBIT 5
Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 2 of 8
Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 3 of 8
Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 4 of 8
Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 5 of 8
Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 6 of 8
Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 7 of 8
Case 22-10263-KBO   Doc 246-5   Filed 05/13/22   Page 8 of 8
